                Case 18-32106 Document 209 Filed in TXSB on 06/17/18 Page 1 of 2




UNITED STATES BANKRUPTCY COURT                                                                                Formatted: Font: 11 pt, Not Bold, Font color:
SOUTHERN DISTRICT OF TEXAS                                                                                    Auto
HOUSTON DIVISION                                                                                              Formatted: No Spacing, Left, Space Before: 0
                                                                                                              pt, After: 0 pt, Line spacing: single, Font
                                                       )                                                      Alignment: Auto
     In re:                                            ) Case No. 18-32106
                                                       )
     Erin Energy Corporation, et al.,1                 ) Chapter 11
                                                       )
                                 Debtors.              ) (Jointly Administered)
      _________________________________________________ )


      WITNESS AND EXHIBIT LIST OF CREDITOR ZENITH BANK FOR THE
                   HEARING ON JUNE 19, 2018
                                         [Relates to D.I. 178, 196]

            Creditor Zenith Bank PLC submits the following Witness and Exhibit List for the hearing

     scheduled on June 19, 2018 at 9:00 a.m. (CDT), in the above-styled, jointly administered

     bankruptcy cases (the “Bankruptcy Cases”) before the Honorable Marvin Isgur, United States

     Bankruptcy Judge, 515 Rusk, Houston, Texas 77002.

                                             WITNESS LIST

            Creditor Zenith Bank PLC may call the following witnesses:

         1. Any witness listed, offered, or called by any other party, including the Debtors.

         2. Any witness required for rebuttal or impeachment.

                                              EXHIBIT LIST

   Trial                       Description                   Offered   Objection   Admitted     Disposition
  Exhibit                                                                                          After
    No.                                                                                          Hearing
a.          DKT 38-1      BOSAH OKONYIA AFFIDAVIT
            [REDACTED
b.          DKT 38-1 PPS 16-37 TEM LOAN FACILITY
            AGREEMENT
c.          DKT 38-1 DEED OF LEGAL CHARGE PPS 54-67

d.          DKT 38-1 DEED OF ASSIGNED RIGHTS PPS 68-73

e.          DKT 178-1 CPROPORATE GUANANTEE CEMAC
            ENERGY TO ZENITH BANK
f.          DKT 178-8 CORPORATE GUARANTEE ERIN
            ENERGY CORP IN FAVOR OF ZENITH BANK
g.          DKT 178-2 LETTER FROM ZENITH BANK TO
            ERIN PETROLEUM LIMITED RE; RESIGNATION
h.          OF
            DKTCEO AND
                178-3   DIRECTOR OF
                      TRANSACTION   ERIN ENERGYFROM
                                  NOTIFICATION
            ZENITH BANK TO RRINPETROLEUM NIGERIA
i           LMT.
            DKT 178-4 ACCOUNT STATEMENT.
                 Case 18-32106 Document 209 Filed in TXSB on 06/17/18 Page 2 of 2




            Any exhibits listed, designated, or offered by any other
            party.
            Any exhibits necessary for rebuttal




   1
       The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other Debtors
   in these cases are: Erin Energy Limited; Erin Energy Kenya Limited; and Erin Petroleum Nigeria Limited. The
   Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.




        Creditor Zenith Bank PLC reserves the right to modify, amend or supplement this Witness

and Exhibit List at any time prior to the June 19, 2018 Hearing. Designation of any exhibit above

does not waive any objections Zenith Bank PLC may have to any exhibit listed on any other

party’s exhibit list.


Dated: June 17, 2018                                 HENCHY VERBOIS & HACKENBERG

                                                     /s/ Louis Jerome Stanley, Of Counsel
                                                     7904 Wrenwood Blvd., Suite C
                                                     Baton Rouge, LA
                                                     Telephone: (225) 928-4444


                                                     Louis Jerome Stanley
                                                     Louis Jerome Stanley

                                                     Proposed Counsel for
                                                     Zenith Bank PLC


                                      CERTIFICATE OF SERVICEI hereby certify that a true and correct
                                      copy of the above and foregoing has been served by electronic
                                      transmission to all registered ECF users appearing in this case.

Dated: June 17, 2018
       Houston, TX                                   Louis Jerome Stanley
                                                     Louis Jerome Stanley
